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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

CITIZENS FOR RESPONSIBILITY
AND ETHICS IN WASHINGTON,
1101 K Street, N.W., Suite 201
Washington, D.C. 20005

Plaintiff,

U.S. DEPARTMENT OF JUSTICE
950 Pennsylvania Ave., N.W.
Washington, D.C. 20530

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v. ) Civil Action No.
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Defendant. )

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COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF

l. This is an action under the Freedom of Information Act (“FOIA”), 5 U.S.C.
§ 552, and the Declaratory Judgment Act, 28 U.S.C. §§ 2201 and 2202, for injunctive,
declaratory, and other appropriate relief. Plaintiff Citizens for Responsibility and Ethics in
Washington (“CREW”) challenges the failure of the Federal Bureau of Investigation (“FBl”), a
component of defendant U.S. Department of Justice (“DOJ”), to disclose to CREW documents
related to thc source of the leak of information to Rudolph Giuliani in October 2016 that then-
FBI Director James B. Comey was going to reopen the investigation into former Secretary of
State Hillary Clinton’s use of a personal email system.

2. This case seeks declaratory relief that DOJ is in violation ofthe FOIA, 5 U.S.C. §
552(a)(6)(E)(i), for failing to provide CREW all responsive records, and injunctive relief
ordering defendant DOJ to process and release to CREW immediately the requested records in

their cntirety.

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Jurisdiction and Venue

3. This Court has both subject matter jurisdiction over this action and personal
jurisdiction over the parties pursuant to 5 U.S.C. §§ 552(a)(4)(B) and 552(a)(6)(C)(i). The Court
also has jurisdiction over this action pursuant to 28 U.S.C. §§ 1331, 2201(a), and 2202. Venue
lies in this district under 5 U.S.C. § 552(a)(4)(B).

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4. Plaintiff CREW is a non-profit, non-partisan organization organized under section
501(0)(3) of the Internal Reveiiue Code. CREW is committed to protecting the rights of citizens
to be informed about the activities of government officials and agencies, and to ensuring the
integrity of government officials and agencies CREW seeks to empower citizens to have an
influential voice in government decisions and in the government decision-making process
through the dissemination of information about public officials and their actions To advance its
mission, CREW uses a combination of research, litigation, and advocacy. As part of its research,
CREW uses government records made available to it under the FOIA.

5. Defendant DOJ is an agency within the meaning of5 U.S.C. § 552(f) and 5
U.S.C. § 701. The FBI is a component within DOJ . Defeiidant has possession and control of the
requested records and is responsible for fulfilling plaintiffs FOIA request

Statutorv and Regulatoi'v Background

6. The FOIA, 5 U.S.C. § 552, requires agencies of the federal government to release
requested records to the public unless one or more specific statutory exemptions apply.

7. An agency must respond to a party making a FOIA request within 20 working

days, notifying that party of at least the agency’s determination of which of the requested records

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it will release, which it will withhold and why, and the requester’s right to appeal the
determination to the agency head. 5 U.S.C. § 552(a)(6)(A)(i).

8. An agency’s failure to make this determination within 20 days is subject to
judicial review without exhausting administrative remedies 5 U.S.C. § 552(a)(6)(C)(i).

Factual Background

9. On October 28, 2016, l l days before the election, then-FBI Director Comey sent
a letter to Congress announcing that the FBI was reopening its investigation into Hillary
Clinton’s emails in light of new information found, but not yet examined by the FBI.

10. Two days earlier Mi‘. Giuliani, a prominent Truinp supporter, telegraplied this
announcement on F 0.1' Neirs, stating, “I do think that all of these revelations about Hillary
Clinton are beginning to have an impact. He’s got a surprise or two that you’re going to hear
about in the next two days.” l\/ir. Giuliani previously served as the U.S. Attorney for the Southern
District of New Yoi'k, a position in which lie worked closely with the FBI’s New York field
office.

1 l. l\/Ir. Giuliani subsequently admitted that he had received advance notice of this
development, stating on Fox News on November 4, 2016, “Did I hear about it? You’re dam right
I heard about it. And I can’t even repeat the language that I heard.”

12. In April 2018, when asked whether Mr. Giuliani had received advance notice
from the FBI about the FBl’s reopening of its investigation, then»FBI Director .lames Comey
stated that based on the publicity on this issue he had “coinmissioned an investigation to see if
we could understand whether people were disclosing information out of the New York office or
any other place that resulted in Rudy’s report on Fo); Neu-‘s and other leaks that we were seeing

in the media.”

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13. ln recent testimony before the House Judiciary and Oversight Committees l\/Ir.
Comey confirmed that he had ordered a leak investigation after Mr. Giuliani’s public statements
indicated he had inside knowledge of the FBl’s investigation into Hillary Clinton that appeared
to stem from his communications with people in the FBI’s New York field office.

14. Any unauthorized disclosure of information about an FBI investigation would
violate the Privacy Act, 5 U.S.C. § 552a(b) and the Hatch Act, 5 U.S.C. § 7323(a)(1), ifthe
disclosure was made with the purpose of affecting the result of the election. CREW therefore
filed a FOIA request with the FBl by facsimile on April 26, 2018, to shed light on whether FBI
agents and employees violated federal law. CREW requested copies of all records pertaining to
the FBI’s investigation of the source of the leak of information to Mr. Giuliani in October 2016
that Mr. Comey was going to reopen the investigation into then»presidential candidate Hillary
Clinton’s use of a personal einail system.

15. CREW’s request explained that given l\/Ii'. Giuliani’s then-newly acquired role as
counsel for President Trump for Special Counsel Robert Mueller’s investigation and his very
high public pi'of`ile, the public also has a significant interest in knowing to what extent Mr.
Giuliani participated in the disclosure of information that many believe was responsible for
Secretary Clinton’s defeat Some have suggested his role as “an active purveyor of pre-election
leaks about the FBI probe into Hillary Clinton’s emails” could pose a conflict if he becomes a
witness in any case Special Counsel l\/[ueller bi'ings. J osh Gerstein and Darren Samuelsohn,
Giuliani’s Historv Raises Legal Ouestions as He Takes on 'frurnp Defense Polz`lico, Apr. 21,

2018, available rif https://www.

politico.com/story/ZO] 8/04/21/giuliani-trump-defense-guestions-544703.

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16. By letter dated l\/Iay 4, 2018, the FBI acknowledged receiving CREW’s request.
The FBl stated that CREW’s request for a public interest fee waiver was under consideration and
that the status of CREW’s request would be updated in the FBl’s public website, http://vault.fbi.
gg.

17. To date, CREW has received no other communications from the FBI, nor has the
FBI posted on its website documents responsive to CREW’s FOIA requestl

18. CREW has now exhausted all applicable administrative remedies with respect to
its request of the FBI.

PLAINTIF’S CLAIM FOR RELIEF

19. Plaintiff repeats and re-alleges paragraphs 1-18.

20. Plaintiffproperly asked for records within the custody and control of`DO.l.

21 . Defendaiit DOJ wrongfully withheld agency records requested by plaintiff by
failing to comply with the statutory time limit for making a determination on plaintiffs request,
and by withholding from disclosure records responsive to plaintiffs i'equest.

22. Plaintiff therefore is entitled to injunctive and declaratory relief with respect to the
immediate processing and disclosure of the requested records.

Reguested Relief

WI-IEREFORE, plaintiff respectfully requests that this Coui‘t:

(1) Oi'der defendant Department of`Justice to immediately and fully process
plaintiffs April 26, 2018 FOIA request to the FBI and disclose all lion-exempt documents
immediately to plaintiff',

(2) lssue a declaration that plaintiff is entitled to immediate processing and disclosure

of the requested rec-ords;

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(3) Provide for expeditious proceedings in this action;

(4) Retainjurisdiction of this action to ensure no agency records are wrongfully

withheld;

(5) Award plaintiff its costs and reasonable attorneys’ fees in this action; and

(6) Grant such other relief as the Court may deem just and proper.

Dated; December 10, 2018

Respectfully submitted,

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